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                                                               USDC SDNY
UNITED STATES DISTRICT COURT                                   DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                  ELECTRONICALLY FILED
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                                                                OC #: ______________
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                                                       :       DATE FILED: ________
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                                                                            October 31, 2016
 KELLY PRICE,                                          :
                                                       :
                                      Plaintiff,       :   15 Civ. 5871 (KPF)
                                                       :
                       v.                              :        ORDER
                                                       :
 THE CITY OF NEW YORK, et al.,                         :
                                                       :
                                      Defendants. :
                                                       :
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KATHERINE POLK FAILLA, District Judge:

       The Court is in receipt of Plaintiff’s Notice of Appeal and understands

Plaintiff to be appealing Judge Preska’s September 27 Order denying Plaintiff’s

motion to file a fourth amended complaint. (Dkt. # 28, 31). However, “ a n

order denying a motion to amend a pleading is not appealable as a ‘final

decision ’” Richardson Greenshields Sec., Inc. v. Lau, 825 F. 2d 647, 650 (2d

Cir. 1987). The jurisdiction of this Court is therefore not affected by Plaintiff’s

appeal, and all pending deadlines remain in effect.

       Plaintiff is advised that a new legal clinic has opened in this District to

assist people who are parties in civil cases and do not have lawyers — often

called "pro se" parties. The Clinic is run by a private organization called the

New York Legal Assistance Group; it is not part of, or run by, the Court (and,

among other things, therefore cannot accept filings on behalf of the Court,

which must still be made by any pro se party through the Pro Se Intake Unit).

The Clinic is located in the Thurgood Marshall United States Courthouse, 40
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Centre Street, New York, New York, in Room LL22, which is just inside the

Pearl Street entrance to that Courthouse. The Clinic is open on weekdays from

10 a.m. to 4 p.m., except on days when the Court is closed. A pro se party can

make an appointment in person or by calling 212-659-6190. Plaintiff is

encouraged to reach out to the Clinic at her earliest convenience.

      SO ORDERED.

Dated:       October 31, 2016
             New York, New York             __________________________________
                                                 KATHERINE POLK FAILLA
                                                United States District Judge




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